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 8                             UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11     Ms. L.; et al.,                                      Case No.: 18cv0428 DMS (MDD)
12                            Petitioners-Plaintiffs,
                                                            ORDER FOLLOWING STATUS
13     v.                                                   CONFERENCE
14     U.S Immigration and Customs
       Enforcement (“ICE”); et al.,
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                          Respondents-Defendants.
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18             A status conference was held on November 8, 2019. After consulting with counsel
19     and being advised of the status of the case, IT IS HEREBY ORDERED:
20     1.      Counsel shall continue to meet and confer on the information sharing protocols
21     between the government agencies involved in family separations, and between the
22     government and Plaintiffs and the legal service providers. If there is a breakdown between
23     the parties and Plaintiffs wish to bring this issue to the Court for resolution, they should
24     identify in the next Joint Status Report what specific issues remain and what relief they
25     seek so the Court can determine whether a formal noticed motion is necessary and
26     appropriate.
27     2.      The next Joint Status Report shall be filed on or before 3:00 p.m. on December 4,
28     2019.

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 1     3.    A further status conference shall be held on December 6, 2019, at 1:00 p.m. The
 2     dial-in number for any counsel who wish to listen in only and members of the news media
 3     is as follows.
 4           a.       Dial the toll free number: 877-411-9748;
 5           b.       Enter the Access Code: 6246317 (Participants will be put on hold until the
 6                    Court activates the conference call);
 7           c.       Enter the Participant Security Code 12060428 and Press # (The security code
 8                    will be confirmed);
 9           d.       Once the Security Code is confirmed, participants will be prompted to Press
10                    1 to join the conference or Press 2 to re-enter the Security Code.
11     As above, members of the general public may attend in person. All persons dialing in to
12     the conference are reminded that Civil Local Rule 83.7(c) prohibits any recording of court
13     proceedings.
14           Counsel for the Ms. L. Class shall provide notice of this order to counsel for Plaintiffs
15     in any of the related cases that wish to appear.
16      Dated: November 12, 2019
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